Case 4:17-cv-00456-GKF-JFJ Document 74-3 Filed in USDC ND/OK on 08/30/19 Page 1 of 29

Sharp Law

Rex A. Sharp, pa.

 

Barbara C. Frankland
Attorney at Law

913.901.9099
bfrankland@midwest-law.com

August 30, 2019

VIA PROCESS SERVER, WITH SUBPOENA

Kingfisher Midstream LLC
c/o The Corporation Company
1833 S Morgan Rd

Oklahoma City, OK 73128

Re: Case No. CIV-17-456-GKF-JFJ; Kunneman Properties LLC, v. Marathon Oil
Company

To Whom It May Concern:

Enclosed is a Subpoena to Produce Documents, Information or Objects, along witha
copy of the Stipulated Protective Order filed in the captioned matter. Paragraph 1A of the
Protective Order extends the rights and obligations of the Protective Order to any person or
entity that produces documents or provides discovery in this case. Please contact me if you have
any questions. Otherwise, I look forward to your timely response.

Very truly yours,

 

Barbara C. Frankland

Enclosures

Cc: All Counsel of Record (w/encl.)

 

5301 W. 75 Street, Prairie Village, Kansas 66208 www.midwest-law.com
913.901.0505
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

KUNNEMAN PROPERTIES, LLC

Plaintiff
V.
MARATHON OIL COMPANY

 

Civil Action No. 17-CV-456-GKF-JFJ

 

Ne ee we aes ae

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Kingfisher Midstream LLC
c/o The Corporation Company 1833 S Morgan Rd Oklahoma City, OK 73128

(Name of person to whom this subpoena is directed)

 

v4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Exhibit A.

 

Place: Rex A. Sharp, P.A., 5301 W. 75th St., Prairie Village, Date and Time:
KS 66208; bfrankland@midwest-law.com | 09/16/2019 5:00 pm

 

 

 

 

O) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: a <i g 7

CLERK OF COURT

 
 
  

aly
JAA1 Yn

Attorney's signature

 

Signature of Clerk or Deputy Clerk

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Kunneman Properties, LLC , who issues or requests this subpoena, are:

Barbara C. Frankland, 5301 W 75th Street, Prairie Village, KS 66208 bfrankland@midwest-law.com (913) 901-0505

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No. 17-CV-456-GKF-JFJ

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

C1 I served the subpoena by delivering a copy to the named person as follows:

 

 

 

on (date) ; or

CI returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A patty or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Jnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT A
INSTRUCTIONS:

1. Each document request below seeks all requested documents, electronically stored
information, data, and other things within your possession, custody or control and within
your practical ability to obtain. Jn re Terrell, 569 B.R. 881, 889-90 (W.D. Okla. July 19,
2017) (“Documents are considered to be under a party’s control when that party has the
right, authority, or practical ability to obtain the documents from a non-party to the.action.”’)
(citations omitted); Choctaw Town Square, LLC y. Kokh Licensee, LLC, 2015 WL
11661752 (W.D. Okla. 2015). This includes documents, electronically stored information,
data, or other things within the care, custody or control of anyone acting on your behalf,
including without limitation, your attorneys, agents, subsidiaries and affiliates.

2. The terms “you” or “your” means Kingfisher Midstream, LLC, and any affiliated
predecessor or successor entities as well as all those acting on your behalf or controlled by
you, including without limitation, your attorneys, agents, subsidiaries and affiliates.

3. Unless otherwise specifically stated, each request seeks all the requested documents,
electronically stored information, data, and other things for wells in Oklahoma at any time
between September 1, 2011 and ending upon the date of production in response to this
subpoena.

4. “Marathon” means to Marathon Oil Company (including its affiliated predecessors and
affiliated successors).

5. “Marathon Contract” means any contract or marketing agreement between you and
Marathon and any contract or marketing agreement assigned to Marathon under which you
gather, compress, dehydrate, treat or process gas from any Marathon Well.

6. “Marathon Well” means each well in Oklahoma in which Marathon marketed gas and its
constituents for itself or others at any time between September 1, 2011 and the date of
production in response to this subpoena.

7. “Marathon Wells” means all wells in Oklahoma in which Marathon marketed gas and
constituents for itself or others at any time between September 1, 2011 and the date of
production in response to this subpoena.

8. All monthly accounting data to be produced in numeric (rather than text) format, such as a
database file, comma delimited .txt file, or spreadsheet Excel file.

9. Provided with this Subpoena is a copy of the Stipulated Protective Order entered in this case
as Document 47. The scope of the Order extends to documents produced by a non-party to
the litigation when the non-party follows the procedures set forth in the Order.
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DOCUMENTS AND THINGS TO BE PRODUCED:

1 Produce the most recent gas analysis for each of the Marathon Wells.

2. If the gas from a Marathon Well flows into a meter that receives gas from multiple wells,
produce documents that identify each Marathon Well flowing into each meter.

3. For the gas stream(s) containing gas from any of the Marathon Wells, produce all
documents showing the below information for each gas stream at each inlet to the gathering
system:

a. Monthly average gas analysis (including GPM, HDP, and inerts such as CO2, N2, and
Helium);

b. Monthly average pressure reading;

c. Water vapor content; and

d. Volume.

Where monthly averages are not available, then produce the first gas analysis, pressure
reading, and water vapor reading for each month for each inlet to the gathering system.

4. For the gas stream(s) containing gas from any of the Marathon Wells, produce all
documents showing the below information about the gas stream at each inlet to your
processing plant(s):

a. Monthly average gas analysis (including GPM, HDP, and inerts such as CO2, N2, and
Helium);

b. Monthly average pressure reading;

c. Water vapor content; and

d. Volume.

Where monthly averages are not available, then produce the first gas analysis, pressure
reading, and water vapor reading for each month for each inlet to your processing plant.

5: For each month of gas production at each plant that received gas from any of the Marathon
Wells, produce all documents showing the actual TF & S charges to the point of
fractionation under the applicable Marathon Contract. (You need only produce documents
for locations where NGL mix, raw make NGLs, or Y-Grade NGLs are sent by you or
anyone acquiring them from you for fractionation).

6. Produce all documents identifying each interstate and/or intrastate pipeline(s) into which
each of your processing plants delivers Residue Gas from the tailgate(s) of the plant(s).

7. For each interstate and/or intrastate pipeline identified in response to Request No. 6,
produce all documents showing the minimum operating pressure of the transmission line.
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8. For each interstate and/or intrastate pipeline identified in response to Request No. 6,
produce all documents showing the standard and/or target operating pressure of the
transmission line.

9. Produce all documents showing the outlet pressure readings for each plant handling gas
from any of the Marathon Wells.

10. If the starting price for Residue or NGLs was WASP under any Marathon Contract,
produce all documents showing the summary of how the WASP was calculated each

month.

11. Produce all documents concerning the sale or transfer of natural gas or NGLs produced
from any of the Marathon Wells to or among any divisions, related entities, affiliates of
you.

12. Produce all documents related to the monthly volumes, sales prices, and deduction of any

fees or in-kind fuel gas, cash fees and percent-of-proceeds fees associated with gathering,
compression, dehydration, treating and processing of the natural gas and/or NGLs from the
Marathon Wells, including, but not limited to, monthly gas payment statements provided
by you to Marathon.

13. Produce all documents concerning any analysis, review, discussion, description,
guidelines, policies, practices, and/or standard operating procedures (on an individual or
company-wide basis) pertaining to NGL Uplift with respect to production from the
Marathon Wells.

14. Produce all documents identifying by name, title, and department all of your executives
and employees, current or former, who would have had, or do have, involvement in
gathering, processing, or marketing the natural gas and NGLs produced from any of the
Marathon Wells.

15. For the persons identified in response to Request No. 14, produce all documents, including
but not limited to emails between any of these persons and any employee of Marathon,
regarding the deduction of any midstream service cost (monetary or in-kind), such as
gathering, compression, dehydration, treatment, processing, or fuel, from royalties.
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

KUNNEMAN PROPERTIES LLC,
on behalf of itself and all others similarly
situated,

Plaintiff,
Vv.

MARATHON OIL COMPANY,
(including affiliated predecessors and affiliated
successors)

Defendant.

 

Case No. 17-CV-456-GKF-JFJ

DECLARATION OF CUSTODIAN OF BUSINESS RECORDS

I, , declare that:

 

[name]

(1) Tam a duly authorized custodian of the business records of Kingfisher Midstream,

LLC of

 

[city, state]

and have the authority to certify those records.

(2) The copy of the records attached to this Declaration is a true copy of the records

described in the subpoena.

(3) | The records were prepared by the personnel or staff of the business, or persons
acting under their control, in the regular course of the business, at or about the time of the act,

condition, or event recorded.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on

, 2019.

 

 

Signature of Custodian
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CERTIFICATE OF MAILING

I hereby certify that on , 2019 I mailed a copy of the above
Declaration, along with true and correct copies of the business records identified as responsive to
the subpoena, to Barbara C. Frankland of Rex A. Sharp, P.A. at 5301 W. 75™ Street, Prairie
Village, KS 66208, by

 

[method of delivery]

 

Signature of Custodian
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(including affiliated predecessors and
affiliated successors),

KUNNEMAN PROPERTIES LLC, )
on behalf of itself and all others similarly )
situated, )
)
Plaintiff, )

vs. ) Case No. 17-CV-456-JED-JFJ
)
MARATHON OIL COMPANY, )
)
)
)
)

Defendant.

STIPULATED PROTECTIVE ORDER

The parties have informed the Court that certain documents and information have been and
may be sought, produced or exhibited by and between the parties in this proceeding (the
“Proceeding”) and that some of these documents relate to the parties’ and non-parties’ financial
information, competitive information, or other types of sensitive information which the party
making the production deems confidential. It has been agreed by the parties to the Proceeding,
through their respective counsel, that to expedite the flow of discovery material and to preserve
the confidentiality of certain documents and information, a protective order should be entered by
the Court. The Court has reviewed the terms and conditions of this Protective Order and the

Motion for Protective Order (ECF No. 46) is granted. Based on the parties’ submissions, it is

hereby ORDERED that:
1. Scope
a. This Order shall govern all documents, the information contained therein, and all

other information produced or disclosed during the Proceeding whether revealed in a document,

deposition, other testimony, discovery response or otherwise, by any party, including any non-
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party, in this Proceeding (the “Supplying Party”) to any other party, including any non-party, (the
“Receiving Party”), when same is designated with the procedures set forth herein. This Order is
binding upon the parties to the Proceeding, including their respective corporate parents,
subsidiaries and affiliates as well as their respective attorneys, agents, representatives, officers and
employees and others as set forth in this Order. This Order is also binding on and applies to all
non-parties who either produce or receive documents or information in connection with this
Proceeding.

b. | Under this Order, any Supplying Party shall have the right to identify and designate
as “Confidential” any document or other information it produces or provides, or any testimony
given in this Proceeding, which testimony or discovery material is believed in good faith by that
Supplying Party, and by the Supplying Party’s counsel, to constitute, reflect or disclose trade secret
or other confidential research, development, or commercial information contemplated under Rule
26(c) of the Federal Rules of Civil Procedure (“Designated Material”).

c. “Confidential Information” as used herein means any Designated Material that is
designated pursuant to this Protective Order as “Confidential” by the Supplying Party, whether it
is a document, information contained in a document, information revealed during a deposition or
other testimony, information revealed in an interrogatory answer or information otherwise
revealed.

d. All documents and information described in Paragraph (1)(c) as Confidential
Information and which a party, and the party’s counsel, believes to be extremely sensitive
confidential and/or proprietary information, the disclosure of which, even limited to the restrictions

placed on Confidential Information in this Order, would compromise and/or jeopardize the
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Supplying Party’s competitive business interests (“Highly Confidential Information”), may be
designated as “Highly Confidential” by said party and furnished to the other parties pursuant to
this Order.

e. A party may designate as “Confidential” or “Highly Confidential” information in the
possession of and supplied by a non-party if the information was transmitted to the non-party under
an agreement or an obligation that it would remain confidential and the information otherwise
complies with Paragraph 1(c) and (d).

f. Subject to paragraph 12(c), all documents and other materials produced in this
litigation shall be used only for purposes of this litigation whether or not a Supplying Party
designates such documents or materials as “Confidential” or “Highly Confidential.”

2. Designation of Confidentiality

Documents or information may be designated CONFIDENTIAL or HIGHLY
CONFIDENTIAL within the meaning of this Order in the following ways:

a. Specific documents produced by a Supplying Party shall, if appropriate, be
designated as “Confidential” or “Highly Confidential” by marking the first page of the document
and each subsequent page thereof containing Confidential or Highly Confidential information with
the legend: “CONFIDENTIAL,” “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER,”
“HIGHLY CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE
ORDER.”

b. In the case of interrogatory answers and responses to requests for admissions, if
appropriate, designation of Confidential or Highly Confidential information shall be made by

means of a statement in the answers or responses specifying that the answers or responses or
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specific parts thereof are designated “CONFIDENTIAL or HIGHLY CONFIDENTIAL.” The
following legend shall be placed on each page of interrogatory answers or responses to requests
for admission containing Confidential Information or Highly Confidential Information:
“CONTAINS CONFIDENTIAL INFORMATION?” or “CONTAINS HIGHLY CONFIDENTIAL
INFORMATION.”

c. In the case of depositions and the information contained in depositions (including
exhibits), designation of the portions of the transcript (including exhibits) which contain
Confidential Information or Highly Confidential Information shall be made by a statement to such
effect on the record in the course of the deposition by counsel for the party or witness producing
such information, or by letter from such counsel within thirty (30) days of receipt of the deposition
transcript or copy thereof (or written notification that the transcript is available). The entire
deposition transcript (including exhibits) shall be treated as Highly Confidential under this Order
until the expiration of the above-referenced thirty-day period for designation by letter, except that
the deponent may review the transcript of his or her own deposition during this thirty-day period.
After the expiration of the thirty (30) day period, the following legend shall be conspicuously
placed on the front and back of any original deposition transcript, and on each copy thereof, which
contains Confidential Information or Highly Confidential Information: “CONTAINS
CONFIDENTIAL INFORMATION” or “CONTAINS HIGHLY CONFIDENTIAL
INFORMATION.” — If portions of a video recorded deposition are designated as
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” the videocassette or other videotape

container shall be labeled with the same legend provided for in paragraph 2(a).
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d. To the extent that matter stored or recorded in the form of electronic or magnetic
media (including information, files, databases, or programs stored on any digital or analog
machine-readable device, computers, discs, networks or tapes) (“Computerized Material”) is
produced by any party in such form, the Supplying Party may designate such matter as
“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” by cover letter referring generally to such
matter or by affixing to such media a label with the legend provided for in paragraph 2(a) above.
Whenever any party to whom Computerized Material designated as “CONFIDENTIAL” or
“HIGHLY CONFIDENTIAL” is produced reduces such material to hard-copy form, such party
shall mark such hard-copy form with the legend provided for in paragraph 2(a) above.

e. To the extent that any party or counsel for any party creates, develops or otherwise
establishes on any digital or analog machine-readable device, recording media, computer, disc,
network, tape, file, database or program information designated CONFIDENTIAL and/or
HIGHLY CONFIDENTIAL, that party and/or its counsel must take all necessary steps to ensure
that access to such media is properly restricted to those persons who, by the terms of this Order,
may have access to Confidential Information and/or Highly Confidential Information, and will
affix to any media containing such information a label with the legend provided for in paragraph
2(a) above.

f. The filing of any documents and materials with the Court containing or reflecting the
contents of Confidential Information or Highly Confidential Information shall be governed by
LCvR 79.1 and Northern District General Order 08-11. NO SEALED FILINGS SHALL BE
MADE PRIOR TO: (1) THE FILING OF A MOTION PURSUANT TO LCvR 79.1, AND (2) AN

ORDER GRANTING SUCH MOTION. The LCvR 79.1 motion shall be filed at least two full
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business days prior to the date on which the proposed sealed filing is to be made. If the LCvR
79.1 motion is granted, and to the extent not inconsistent with rule 79.1 and G.O. 08-11, such
documents and materials shall be labeled “CONFIDENTIAL INFORMATION (or HIGHLY
CONFIDENTIAL INFORMATION) - SUBJECT TO COURT ORDER” and shall alse bear the
legend “FILED UNDER SEAL” on the cover page of the document. Only those portions of such
documents and materials containing or reflecting Confidential Information or Highly Confidential
Information shall be considered Confidential or Highly Confidential and may be disclosed only in
accordance with this Order. Each party shall use its best efforts to minimize filings that necessitate
the filing of documents and materials designated Confidential or Highly Confidential under seal.
No party or other person may have access to any sealed document from the files of the Court
without an order of the Court. This provision does not relieve the filing party of serving the
document on other parties in accordance with ordinary procedures established by the civil and
local rules or Court order. Regardless of any provision in this Order to the contrary, a party does
not have to file a document under seal if the Confidential Information or Highly Confidential
Information contained or reflected in the document was so designated solely by that party.

g. Documents filed under seal may be unsealed at the Court’s discretion.
3. Use of Confidential Information or Highly Confidential Information

Subject to Paragraph 12(c), Confidential Information or Highly Confidential Information
shall not be used by any person, other than the Supplying Party, for any purpose other than
conducting this Proceeding, Kunneman Properties LLC v. Marathon Oil Company, No. 17-CV-

456-JED-JFJ, which case is pending in the United States District Court for the Northern District
Case 4.14-cv3004566KF216J-Rocumanidac3 Filedun URS NPIOK en 98/29/19 Rage, 49 9f,29

of Oklahoma, and in no event shall such information be used for any business, competitive,
personal, private, public or other purpose.
4. Disclosure of Confidential Information

a. The attorneys of record are responsible for employing reasonable measures,
consistent with this Order, to control access to, and distribution of information designated
“CONFIDENTIAL” pursuant to this Order.

b. Subject to Paragraph 6 below, access to information designated “CONFIDENTIAL”
pursuant to this Order shall be limited to the following persons:

i. The parties, including outside and in-house counsel for the parties, as well
as members and employees of their firms including but not limited to their
paralegals, investigative, secretarial and clerical personnel who are
employed by and engaged in assisting such counsel in this Proceeding.

il. Outside photocopying, data processing or graphic production services
employed by the parties or their counsel to assist in this Proceeding.

lil. Any outside expert or consultant (or any employee of such outside expert
or consultant) who is retained, or sought to be retained, by counsel for a
party in this Proceeding, for purposes of consulting, and/or testifying in
this Proceeding, and to whom counsel in good faith has deemed disclosure
of such “CONFIDENTIAL” material is reasonably necessary in order to
assist in the preparation or the conduct of this Proceeding. This paragraph

shall not relieve, change or otherwise affect any obligations or limitations
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imposed on any person by contract or law regarding the disclosure or use
of trade secrets or other confidential or proprietary information.

iv. Five (and no more than five) directors, officers, employees or other
representatives of a party or its corporate parent whose review of the
specific Confidential Information is reasonably necessary to assist in the
prosecution or defense of this Proceeding. However, a party that
originally designated information as “CONFIDENTIAL” may reveal such
information to any of its own directors, officers, employees or other
representatives.

V. Any fact witness, at the witness’ deposition in this Proceeding, but only if
counsel who discloses “CONFIDENTIAL” information to the witness
determines, in good faith, that such disclosure is reasonably necessary and
appropriate to assist in the conduct of this Proceeding.

Vi. Any person (a) who was involved in the preparation of the document or
other tangible medium containing the Confidential Information and/or
who is shown on the face of “CONFIDENTIAL” material to have
authored or received the “CONFIDENTIAL” material sought to be
disclosed to that person, or (b) who is specifically referenced by name and
substantively discussed in the “CONFIDENTIAL” material, but only as
to the specific material the person authored or received, or in which such

person is referenced and discussed.
Case 4:17-cv00456.GKE-JEJ Document 2:3, Filedin, USR& NDIOK gn Q8/39/19 Page lg, gf29

vii. This Court or any other Court exercising jurisdiction with respect to this
litigation, Court personnel, jurors, and qualified persons (including
necessary clerical personnel) recording, taking or transcribing testimony
or argument at any deposition, hearing, trial or appeal in this litigation;
and

viii. _ Any other person to whom the Supplying Party agrees in writing or on the
record in advance of the disclosure, provided that the party seeking to
make the disclosure must first submit a request, in writing or on the record,
to the Supplying Party explaining why the disclosure is necessary. If the
Supplying Party does not agree to allow the disclosure, the party seeking
to make the disclosure may file a motion with the Court for approval to
make the disclosure.

5. Disclosure of Highly Confidential Information

a. The attorneys of record are responsible for employing reasonable measures,
consistent with this Order, to control access to, and distribution of information designated
“HIGHLY CONFIDENTIAL?” pursuant to this Order.

b. Subject to paragraph 6 below, access to information designated “HIGHLY
CONFIDENTIAL” pursuant to this Order shall be limited to the following persons:

t Outside counsel for the parties as well as their paralegals, investigative,
secretarial and clerical personnel who are employed by and engaged in

assisting such counsel in this litigation.
Case 4:.17-cv-00456-GKF;JEJ.. Document74-3, Filed in, USBC ND/OK AN RBRPIL9 -Baget 3, A 29

il. Two (and no more than two) in-house counsel of a party or its corporate
parent designated as having responsibility for making decisions dealing
directly with the resolution of this Proceeding.

ill. Outside photocopying, data processing or graphic production services
employed by the parties or their counsel to assist in this litigation.

iv. Any outside expert or consultant (or any employee of such outside expert
or consultant) who is retained by counsel for a party in this Proceeding,
for purposes of consulting, and/or testifying in this Proceeding, and to
whom counsel in good faith has deemed disclosure of such “HIGHLY
CONFIDENTIAL” material is reasonably necessary in order to assist in
the preparation or the conduct of this Proceeding. This paragraph shall
not relieve, change or otherwise affect any obligations or limitations
imposed on any person by contract or law regarding the disclosure or use

of trade secrets or other confidential or proprietary information.

v. Any person who is shown on the face of “HIGHLY CONFIDENTIAL”
material to have authored or received the “HIGHLY CONFIDENTIAL”
material sought to be disclosed to that person, but only as to the specific
material the person authored or received.

Vi. Two (and no more than two) directors, officers, employees or other
representatives of a party or its corporate parent designated as having
responsibility for making business decisions dealing directly with the

resolution of this Proceeding. However, a party that designated

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information as “HIGHLY CONFIDENTIAL” may reveal such
information to any of its own directors, officers, employees or other
representatives.

vii. Any fact witness, at the witness’ deposition in this Proceeding, but only if
counsel who discloses “HIGHLY CONFIDENTIAL.” information to the
witness determines, in good faith, that such disclosure is reasonably
necessary and appropriate to assist in the conduct of this Proceeding.

vill. This Court or any other Court exercising jurisdiction with respect to this
litigation, Court personnel, jurors, alternate jurors, and qualified persons
(including necessary clerical personnel) recording, taking or transcribing
testimony or argument at any deposition, hearing, trial, or appeal in this
litigation; and

IX. Any other person to whom the Supplying Party agrees in writing or on the
record in advance of the disclosure, provided that the party seeking to
make the disclosure must first submit a request, in writing or on the record,
to the Supplying Party explaining why the disclosure is necessary. If the
Supplying Party does not agree to allow the disclosure, the party seeking
to make the disclosure may file a motion with the Court for approval to
make the disclosure.

6. Notification of Protective Order
Confidential Information and Highly Confidential Information shall not be disclosed to a

person described in paragraphs 4(b)(iii), 4(b)(iv), 4(b)(v), 4(b)(viii), 5(b)(iv), 5(b)(vii), or 5(b)(ix)

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Case 4:17-cv-00456-GKF-JEJ.. Document74-3, Filed. in, USDC ND/OK an Q8R0lL9 -RageZ24,af29

unless and until such person has executed an Agreement of Confidentiality in substantially the
form attached hereto as Exhibit A. The originals of an executed Agreement of Confidentiality
shall be maintained by counsel for the party who obtained it until the final resolution of this
litigation, and shall not be subject to discovery except upon motion on notice and a showing of
good cause. This prohibition includes either direct or indirect disclosure, including but not limited
to, any disclosure by counsel or experts. At any deposition and absent the agreement of the parties,
prior to the disclosure of any Confidential Information and/or Highly Confidential Information,
the deponent shall be provided a copy of the form attached hereto as Exhibit B and shall be asked
to affirmatively state on the record that he or she has received the form and consents to the
restrictions contained within the Stipulated Protective Order, a copy of which shall be provided to
the deponent.
Ve Use of Confidential or Highly Confidential Information at Trial

The rules and procedures governing the use of Confidential and Highly Confidential
Information at trial shall be determined by the Court at the final pretrial conference.
8. Objections to Designations

A party may, at any time, make a good faith challenge to the propriety of a Confidential or
Highly Confidential Information designation. In the event a party objects to the designation of
any material under this Order, the objecting party shall consult with the designating party to
attempt to resolve their differences. If the parties are unable to reach an accord as to the proper
designation of the material, after giving notice to the designating party, the objecting party may
apply to the Court for a ruling that the material shall not be so designated. If such a motion is

made, the designating party has the burden of establishing that the designation is proper. If no

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Case 4:17-cw:00456;GKFsJEJ..Document74-3, Filed in, USBE ND/OK an Q880i19 -Rage 22,0129

such motion is made, the material will retain its designation. Any documents or other materials
that have been designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” shall be treated
as Confidential or Highly Confidential until such time as the Court rules that such materials should
not be treated as Confidential or Highly Confidential.
9, Preservation of Rights and Privileges

Nothing contained in this Order shall affect the right, if any, of any party or witness to
make any other type of objection, claim, or other response to discovery requests, including, without
limitation, interrogatories, requests for admissions, requests for production of documents or
questions at a deposition. Nor shall this Order be construed as a waiver by any party of any legally
cognizable privilege to withhold any Confidential Information or Highly Confidential Information
other than on the basis that it has been designated Confidential or Highly Confidential, or of any
right which any party may have to assert such privilege at any stage of this litigation.
10. Return or Destruction of Materials

Within sixty business days after the final resolution of this litigation, all Confidential
Information or Highly Confidential Information shall be returned to counsel for the party or non-
party that produced it or shall be destroyed. As to those materials that contain or reflect
Confidential Information or Highly Confidential Information, but that constitute or reflect
counsel’s work product, counsel of record for the parties, or non-parties, shall be entitled to retain
such work product in their files in accordance with the provisions of this Order, so long as it is
clearly marked to reflect that it contains information subject to this Order. Such materials may not
be used in connection with any other proceeding or action. Counsel shall be entitled to retain

pleadings, affidavits, motions, briefs, other papers filed with the Court, deposition transcripts, and

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Case A.1Z-cv,04S&GKFsJEJ., RocunentsA-3, Filed in, USBE NB/OK AN Q3BPi19 -Bgg¢e.23,8 79

the trial record (including exhibits) even if such materials contain Confidential Information or
Highly Confidential Information, so long as such materials are clearly marked to reflect that they
contain information subject to this Order and may not be used in connection with any other
proceeding or action.
11. Inadvertent or Unintentional Disclosure

A Supplying Party that inadvertently fails to designate discovery material as “Confidential”
or “Highly Confidential” or mis-designates discovery material as “Confidential” or “Highly
Confidential” pursuant to this Order at the time of its production shall be entitled to make a
correction to its designation within a reasonable time of the discovery of the non- or mis-
designation. Such correction and notice thereof shall be made in writing, accompanied by
substitute copies of each item of discovery material, appropriately designated. Those individuals
who received the discovery material prior to notice of non- or mis-designation by the Supplying
Party shall within five (5) days of receipt of the substitute copies, take reasonable steps to destroy
or return to the law firm representing the Supplying Party all copies of such mis-designated
documents. The obligation to treat such material pursuant to the corrected designation shall be
prospective only, and those individuals who reviewed the mis-designated discovery material prior
to notice of the mis-designation by the Supplying Party shall abide by the provisions of this Order

with respect to all future use and disclosure of any information contained in the mis-designated

materials.
12. Other Provisions
a. The restrictions set forth in this Order shall not apply to documents or information

designated Confidential or Highly Confidential that are publicly available or that are obtained

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independently and under rightful means by the Receiving Party, unless they became so due to a
violation of this Order.

b. A party’s compliance with the terms of this Order shall not operate as an admission
that any particular document is or is not (a) confidential, (b) privileged or (c) admissible in
evidence at trial.

C. Any party or person in possession of Confidential Information or Highly
Confidential Information who receives a subpoena (or other process) from any person (including
natural persons, corporations, partnerships, firms, governmental avoncies, departments or bodies,
boards or associations) who is not a party to this Order, which subpoena seeks production or other
disclosure of such Confidential Information or Highly Confidential Information shall immediately
give written notice by electronic mail to counsel for the other party or person who produced the
materials designated as Confidential or Highly Confidential. The written notice shall identify the
materials sought and enclose a copy of the subpoena or other process, unless ordered otherwise by
a court of competent jurisdiction. Nothing herein shall be construed to obligate the person subject
to service or other process to make a motion or undertake other legal process, or to appear before
any court or administrative body in opposition to a motion or other legal process seeking
production of any Confidential or Highly Confidential materials, provided such person invokes, to
the extent reasonably possible, the highest level of confidentiality available under applicable law,
tule, regulation, court order, or other compulsory process, at the time of disclosure of such
Confidential materials.

d. This Order shall apply to non-parties who provide discovery, by deposition,

production of documents or otherwise, in this litigation, if said non-party requests, in writing, the

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Case 4:17-cv-00456-GKF-JEJ..DocumentZ4-3, Filad.in, USBC ND/OK an Q880lL9 -Rgge 23,01 29

protection of this Order as to said non-party’s Confidential Information or Highly Confidential
Information and complies with the provisions of this Order.

e. Upon the final resolution of this litigation (including conclusion of any appeal), this
Order shall remain in effect and continue to be binding, unless expressly modified, superseded, or
terminated by consent of all parties or by Order of the Court. This Court expressly retains
jurisdiction over this action for enforcement of the provisions of this Order following the final
resolution of this litigation.

f. This Order shall not prevent a party from applying to the Court for relief therefrom,
or from applying to the Court for further or additional protective orders, or from agreeing to
modifications of this Order, subject to the approval of the Court.

g. The Court may amend, modify or dissolve this Protective Order at any time.

SO ORDERED this 25th day of March, 2019.

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Case.4:17-cv-00456-GKF- JEL, Document74=3 Filed in USDC NOOK 9nJ3/30/19 -Rage,26, of,29

EXHIBIT A
Case-A:17-cv-00456-GKF-JEL, Document74-3 Filed in USDC NOOK on 8/30/19 , Rage 2g, o129

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

KUNNEMAN PROPERTIES LLC,
on behalf of itself and all others similarly
situated,

Plaintiff,

vs. Case No. 17-CV-456-JED-JFJ
MARATHON OIL COMPANY,
(including affiliated predecessors and
affiliated successors),

4 4 4a 44 a a ae ee

Defendant.

CERTIFICATION

L My name is

 

I live at

 

I am employed as (state position)

 

by (state name and address of employer)

 

2. I have read the Confidentiality Order that has been entered in this case, and a copy of
it has been given to me. I understand the provisions of this Order, and agree to comply with
and to be bound by its provisions.

3, I declare under penalty of perjury that the foregoing is true and correct.

Executed this day of , 20

 

by

 

(signature).
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EXHIBIT B
Case 4:17-cv-00456-GKF-JEJ.. Document7a-3, Filed in, USDC ND/OK an Qs/30/19 , Bage 29, af 29

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(including affiliated predecessors and
affiliated successors),

Defendant.

KUNNEMAN PROPERTIES LLC, )
on behalf of itself and all others similarly )
situated, )
)
Plaintiff, )

vs. ) Case No. 17-CV-456-JED-JFJ
)
MARATHON OIL COMPANY, )
)
)
)
)

NOTICE TO DEPOSITION WITNESSES

You are being shown one or more documents which have been designated as
“Confidential” pursuant to an Order of this Court. Except for providing testimony at this
deposition, you may not disclose these documents or their contents to any person other than
the attorney who represents you at this deposition. Further, neither these documents nor their
contents may be used by you for any purpose except that you may use them for your testimony
in connection with this litigation. In any event, you are prohibited from using them for any
business, competitive, personal, private, public, or other non-litigation purpose. The improper
disclosure or use of these documents or their contents may result in the imposition of sanctions
upon you by the Court. If you wish a complete copy of the Court Order, a copy will be

provided to you upon request.
